         Case 4:14-cr-00188-DPM Document 7 Filed 09/16/14 Page 1 of 2
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                                                                                     U S DSTRICT COURT
                      TN THE LINITED STATES DISTRICT COURT                       EASTERN Di STRICT ARKANSAS
                          EASTERN DISTRICT OF ARKANSAS
                                                                                     SEP      6 2011f
FREDDIE EUGENE BREWSTER,                                                  JAME                    ACK CLERK
     a/k/a "FREDDIE B";                                                    By:

ALTON ELIJAH GIVENS,
     a/Wa"FEETY";                                           FILED UNDER SEAL
CHRISTOPHER LAMONT JONES,                                   Case No. 4:14-CR-188 - JLH
     alWa"LIL JOE";
THOMAS STACY CAFFREY,
     alWa"T.C.";                                            r8 u.s.c. $ 2
RICHARD BEASON;                                             l8 u.S.C. $e22(g)
DARRELL GREEN:                                              2l U.S.C. $ 8a1(a)(l), (bXlXA)
TOMMIE ICE;                                                 21 u.S.C. $ 8a1(a)(l), (b)(lXB)
CLARENCE ALLEN;                                             21 u.S.C. $ 8a1(a)(l), (bXlXC)
WILLIE JOSEPH TYLER, JR.;                                   21 u.S.C. $ 843(b)
RACHEL LEWIS;                                               21 U.S.C. $ 846
LADEITRICK HAMPTON;                                         18 u.S.C. $ 1es6(a)(l)(BXi)
ASHLEY RAMAGE;                                              21 U.S.C. $ 8s3(d)
LINDA BREWSTER;                                             18 U.S.C. $ e24(d)
DAVID BOWMAN, JR.;                                          28 U.S.C. $ 2s6l(c)
D'ANGELO CANNON;                                             l8 u.s.c. $ 3013
MICHAEL DESHUN DAWKINS,                                      18 U.S.C. $ 3s71
     a/Wa"LlL CRACK";                                        18 U.S.C. $ 3s83
VERNA THOMPSON,
     a/Wa"D-LOW";
BRLTNSON JAY TAYLOR;
CHARLES OLIVER;
CLINTON BREWER;
RODRIQUES D'ANGELO DAVIS;
JENNIFER MAY;
CHRISTIAN WHITE;
TAQUILA SHOTO; and
CHRISTINA AKINS BREWSTER

                                      MOTION TO UNSEAL

       Upon request of the United States, the indictment in this case was ordered sealed on

September 12,2014, until the defendants were in custody or had been released pending trial. To

date, not all of the defendants have been arrested. Officers have made all reasonable efforts to

locate and arrest the defendants who remain at large, and would now like to request the assistance

of the public in locating them. Therefore, the United States respectfully requests that the

indictment be unsealed at his time.
           Case 4:14-cr-00188-DPM Document 7 Filed 09/16/14 Page 2 of 2


                                                    CHRISTOPHER R. THYER
                                                    United States Attorney




                                                    CHRIS GIVENS
                                                    Bar Number 2009194
                                                    Assistant United States Attorneys
                                                    P. O. Box 1229
                                                    Little Rock, AR 72203
                                                    Telephone: (50 I ) 340-2619
                                                    E-mail : Chris.Givens@usdoj gov
                                                                                  .




                                            ORDER

         Pursuant to the above request, the indictment in this matter shall be unsealed by this

order.




                                             September 16.2014
                                             DATE



                                                                I
                                                       BLE JOE J. VOLPE
                                                       STATES MAGISTRATE JUDGE
